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     Assistant Federal Defenders
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 4   Tel: (916) 498-5700
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 5
     Attorneys for Defendant
 6   STEPHANIE FAHLGREN
 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                     Case No. 2:24-CR-00213-WBS
11
                      Plaintiff,
12
     vs.                                           REQUEST FOR RULE 43 WAIVER OF
13                                                 PERSONAL APPEARANCE
     STEPHANIE FAHLGREN,
14
                      Defendant.
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18           Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, Defendant
19   STEPHANIE FAHLGREN hereby waives the right to be present in person in open court upon
20   the hearing of any motion or other proceeding in this case, including when the case is set for
21   trial, when a continuance is ordered, when time is excluded under the Speedy Trial Act, when a
22   detention hearing is held, and when any other action is taken by the Court before or after trial,
23   except upon such critical stages as an arraignment, change of plea, empanelment of jury and
24   imposition of sentence.
25          Defendant hereby requests the Court to proceed during every absence of hers which the
26   Court may permit pursuant to this waiver; agrees that her interests will be deemed represented at
27   all times by the presence of her attorney, the same as if defendant were personally present; and
28   further agrees to be present in person in court ready for trial on any day which the Court may fix
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 1   in her absence.
 2           Defense counsel will advise the United States Marshals at least two weeks before the
 3   defendant’s presence is needed.
 4           The original, signed copy of this waiver is being preserved by the attorney undersigned.
 5
 6   Dated: December 5, 2024                      /s/ Stephanie Fahlgren
                                                  STEPHANIE FAHLGREN
 7                                                Defendant
 8
     Date: December 5, 2024                       /s/ Andrew Francisco
 9                                                ANDREW FRANCISCO
                                                  Assistant Federal Defender
10                                                Attorney for Defendant
                                                  STEPHANIE FAHLGREN
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14
                                                 ORDER
15
             IT IS SO ORDERED.
16
17   Dated: December 6, 2024

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     Waiver of Personal Appearance
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